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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1014V
                                      Filed: June 20, 2016
                                         UNPUBLISHED

****************************
CHARLES TICE,                        *
                                     *
                  Petitioner,        *       Joint Stipulation on Damages;
v.                                   *       Influenza (“Flu”) Vaccine;
                                     *       Peripheral Neuropathy;
SECRETARY OF HEALTH                  *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                  *
                                     *
                  Respondent.        *
                                     *
****************************
Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Gordon Shermin, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On September 11, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he developed peripheral neuropathy as a result
of his November 14, 2012 influenza (“flu”) vaccination. Petition at 1-2; Stipulation, filed
June 16, 2016, at ¶ 4. Petitioner further alleges that he experienced the residual effects
of this injury for more than six months, and that there has been no prior award or
settlement of a civil action for damages as a result of his condition. Petition at 2;
Stipulation at ¶¶ 4-5. “Respondent denies that the flu vaccine caused any injury to
petitioner, and further denies that petitioner suffered the residual effects of his condition
for more than six months. ” Stipulation at ¶ 6.

       Nevertheless, on June 16, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $85,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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